                      Case 1:22-mj-00214-MAU Document 1 Filed 09/29/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                       Mikhail Slye
                                                                     )
                      DOB: XXXXXX                                    )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                       in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 111(a)(1)- Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C. § 231(a)(3)- Civil Disorder,
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,
        40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings,
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                          Michael Shaffer, Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                            Digitally signed by Moxila A.
                                                                                                            Upadhyaya
Date:                                                                                                       Date: 2022.09.29 17:26:38 -04'00'
                  09/29/2022
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                               Printed name and title
